          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:04CR64


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           vs.                           )           ORDER
                                         )
KEVIN CHRISTOPHER MAKERSON               )
                                         )
                                         )


     THIS MATTER is before the Court on the Defendant’s second motion

for reconsideration of the Court’s prior Orders denying an extension of time

in which to file an appeal. See Orders, filed November 17, 2008 and

December 9, 2008.

     In this second motion for reconsideration, the Defendant provides a

case from the Western District of Kentucky which involved a defendant

who had filed a late notice of appeal and requested the Court to permit the

late filing due to excusable neglect. See Order in United States v.

Rushin, attached to Defendant’s Motion, at 2 (citing United States v.

Thompson, 82 F.3d 700, 702 (6th Cir. 1996)). In Rushin, however, the

defendant had filed his notice of appeal after the normal ten-day period for



   Case 1:04-cr-00064-MR-WCM     Document 68    Filed 01/13/09   Page 1 of 2
                                     2

notices of appeal, but within the allowable 30-day extension period. See

id. at 1 (explaining that under Federal Rule of Appellate Procedure 4,

if the Court finds excusable neglect, a defendant may have up to 40

days after entry of judgment in which to file his notice of appeal).

     In the instant case, however, as the Court has previously explained,

Defendant filed his notice of appeal 16 days after the 40-day period

expired. See Order, filed November 17, 2008, at 2-3. As the Court

noted, the Court lacks jurisdiction to extend the appeal period beyond the

confines of Federal Rule of Appellate Procedure 4. Id. at 3 (citing United

States v. Alvarez, 249 F. App’x 303, 304 (4th Cir. 2007)).

     IT IS, THEREFORE, ORDERED that Defendant’s second motion for

reconsideration is hereby DENIED.

                                     Signed: January 13, 2009




   Case 1:04-cr-00064-MR-WCM    Document 68     Filed 01/13/09   Page 2 of 2
